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   9                       UNITED STATES DISTRICT COURT
  10                     CENTRAL DISTRICT OF CALIFORNIA
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  12 SECURITIES AND EXCHANGE                  Case No. CV 13-7553-JAK (SSx)
     COMMISSION,
  13                                          ORDER: (1) APPROVING FINAL
                 Plaintiff,                   REPORT AND ACCOUNTING; (2)
  14                                          AUTHORIZING PAYMENT OF FINAL
            v.                                FEE APPLICATION OF RECEIVER
  15                                          AND PROFESSIONALS; (3)
     YIN NAN "MICHAEL" WANG;                  AUTHORIZING FINAL
  16 WENDY KO; VELOCITY                       DISTRIBUTION AND ESTABLISHING
     INVESTMENT GROUP, INC.; BIO              RESERVE; (4) AUTHORIZING
  17 PROFIT SERIES I, LLC; BIO PROFIT         SUBMISSION OF APPROPRIATE TAX
     SERIES II, LLC; BIO PROFIT SERIES        RETURNS; (5) AUTHORIZING
  18 III, LLC; BIO PROFIT SERIES V, LLC;      ABANDONMENT OR DESTRUCTION
     and ROCKWELL REALTY                      OF DOCUMENTS; AND (6) CLOSING
  19 MANAGEMENT, INC.,                        RECEIVERSHIP CASE AND
                                              DISCHARGING AND RELEASING
  20              Defendants.                 RECEIVER
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                                                           ORDER APPROVING MOTION TO
                                                               CONCLUDE RECEIVERSHIP
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   1                                         ORDER
   2        Before the Court in the above-captioned action is the Motion of Receiver,
   3 David P. Stapleton, for Order: (1) Approving Final Report and Accounting;
   4 (2) Authorizing Payment of Final Fee Applications of Receiver and Professionals;
   5 (3) Authorizing Final Distribution and Establishing a Reserve; (4) Authorizing
   6 Submission of Appropriate Tax Returns; (5) Authorizing Abandonment or
   7 Destruction of Documents; and (6) Closing the Receivership and Discharging and
   8 Releasing Receiver (the "Wind-Down Motion"), filed by David P. Stapleton
   9 ("Receiver"), the Court-appointed receiver for Velocity Investment Group, Inc., Bio
  10 Profit Series I, LLC, Bio Profit Series II, LLC, Bio Profit Series III, LLC, Bio Profit
  11 Series V, LLC, Rockwell Realty Management, Inc., and their respective subsidiaries
  12 and affiliates (collectively, the "Receivership Entities").
  13        Having reviewed the Receiver's Wind-Down Motion, the concurrently filed
  14 Receiver's Final Report and Accounting, and the final fee applications of the
  15 Receiver and his counsel of record, Allen Matkins Leck Gamble Mallory & Natsis,
  16 LLP ("Allen Matkins"), and all supporting materials submitted therewith, and good
  17 cause appearing therefor, the Court finds the relief requested is reasonable and
  18 appropriate, and further finds that it is now appropriate to close the receivership case
  19 and discharge and release the Receiver.
  20        Accordingly, the Court GRANTS the Receiver's Wind-Down Motion, in its
  21 entirety and further ORDERS as follows:
  22        IT IS HEREBY ORDERED THAT:
  23        1.     The Court APPROVES the Receiver's Final Report and Accounting
  24 submitted concurrently with the Wind-Down Motion;
  25        2.     Fees and expenses to the Receiver in the respective amounts of
  26 $28,530.50 and $898.97 are APPROVED, and the Receiver is AUTHORIZED to
  27 pay these fees and expenses out of assets of the Receivership Entities;
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                                                                   ORDER APPROVING MOTION TO
                                                                       CONCLUDE RECEIVERSHIP
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   1        3.     Fees and expenses to Allen Matkins in the respective amounts of
   2 $33,649.27 and $113.12 are APPROVED, and the Receiver is AUTHORIZED to
   3 pay these fees and expenses out of assets of the Receivership Entities.
   4        4.     A reserve in the amount of $50,000 is established and the Receiver is
   5 AUTHORIZED to pay any remaining administrative fees and expenses from this
   6 reserve without further order of this Court, and the Receiver shall remit any funds
   7 remaining after the application of the reserve to such fees and expenses to the
   8 Securities and Exchange Commission;
   9        5.     The Receiver is AUTHORIZED to make a final, pro rata distribution
  10 in the aggregate amount of $136,522.06 to all investors and creditors with allowed
  11 claims in accordance with this Court's prior orders and in the amounts as set forth in
  12 the Recommended Final Distribution Schedule attached as Exhibit A to the
  13 Receiver's declaration submitted in support of the Wind-Down Motion;
  14        6.     The Receiver is AUTHORIZED to submit final tax returns for the
  15 Receivership Entities;
  16        7.     The Receiver is AUTHORIZED to abandon or destroy Receivership
  17 Entity documents and records containing exclusively non-private information, and
  18 to destroy Receivership Entity documents and records containing private
  19 information after forty-five (45) days from the date of this Order;
  20        8.     Upon the submission of a declaration and final reconciliation from the
  21 Receiver reflecting completion of the above-tasks, and without further order of the
  22 Court, the Court CLOSES the above-captioned receivership case, DISCHARGES
  23 the Receiver from his duties and obligations as reflected in the Court's prior orders,
  24 and RELEASES the Receiver from any liability arising from or in connection with
  25 his service as Receiver, the Receivership Entities, and the above-captioned
  26 receivership case.
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                                                                 ORDER APPROVING MOTION TO
                                                                     CONCLUDE RECEIVERSHIP
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   1        IT IS SO ORDERED.
   2
   3 Dated: May 24, 2019                                   /S/
                                            Suzanne H. Segal
   4                                        Magistrate Judge, United States District
                                            Court
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                                                            ORDER APPROVING MOTION TO
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